       Case 1:21-cv-00751-DAE     Document 275   Filed 12/04/24   Page 1 of 17




                            UNITED STATES DISTRICT COURT
                       FOR THE WESTERN DISTRICT OF TEXAS
                                  AUSTIN DIVISION

In re CASSAVA SCIENCES, INC.             §
SECURITIES LITIGATION                    § Master File No. 1:21-cv-00751-DAE
                                         §
                                         § CLASS ACTION
This Document Relates To:                §
                                         §
         ALL ACTIONS                     §
                                         §
                                         §


REPLY IN FURTHER SUPPORT OF PLAINTIFFS’ OPPOSED MOTION FOR LEAVE
             TO FILE SECOND SUPPLEMENTED COMPLAINT




4908-1930-3427.v1
       Case 1:21-cv-00751-DAE                       Document 275                Filed 12/04/24             Page 2 of 17



                                                TABLE OF CONTENTS

                                                                                                                                Page

I.       INTRODUCTION ...............................................................................................................1

II.      THE SUPPLEMENTAL ALLEGATIONS DO NOT MOOT PLAINTIFFS’
         CLASS CERTIFICATION MOTION .................................................................................2

         A.         The Supplement Does Not Supersede the Operative Complaint .............................2

         B.         There Is No Requirement that the Class Period Be Extended .................................4

III.     LEAVE TO SUPPLEMENT THE COMPLAINT SHOULD BE GRANTED ...................5

         A.         Plaintiffs Did Not Unduly Delay In Supplementing the Complaint ........................5

         B.         Defendants Fail to Demonstrate Undue Prejudice ...................................................7

                    1.        The New Corrective Disclosures Need Not Be Considered as Part
                              of Any Class Certification Price Impact Analysis .......................................8

                    2.        The New Corrective Disclosures Need Not Be Considered as Part
                              of Any Class Certification Comcast Analysis ...........................................10

IV.      CONCLUSION ..................................................................................................................10




                                                                -i-
4908-1930-3427.v1
        Case 1:21-cv-00751-DAE                        Document 275                Filed 12/04/24             Page 3 of 17



                                               TABLE OF AUTHORITIES

                                                                                                                                   Page

CASES

Air Force Officer v. Austin,
    2022 WL 1240856 (M.D. Ga. Apr. 27, 2022) ...........................................................................4

Ap-Fonden v. Goldman Sachs Grp., Inc.,
   2023 WL 4865617 (S.D.N.Y. July 31, 2023) ................................................................4, 7, 8, 9

Bd. of Trs. of City of Ft. Lauderdale Gen. Ems. Ret. Sys. v. Mechel OAO,
    811 F. Supp. 2d 853 (S.D.N.Y. 2011)........................................................................................5

BMSH I Katy TX, LLC v. Smith Seckman Reid, Inc.,
  2024 WL 4229312 (S.D. Tex. Sept. 18, 2024) ..........................................................................7

Burchfield v. Corel Corp.,
   2013 WL 12120088 (N.D. Cal. Sept. 12, 2013) ........................................................................3

Bush v. Pioneer Mining Co.,
   179 F. 78 (9th Cir. 1910) ...........................................................................................................3

Comcast Corp. v. Behrend,
  569 U.S. 27 (2013) ...................................................................................................................10

Crowley v. Collier,
   2024 WL 1220170 (S.D. Tex. Feb. 16, 2024),
   report and recommendation adopted by,
   2024 WL 1221578 (S.D. Tex. Mar. 21, 2024) ...........................................................................3

Dean v. Ford Motor Credit Co.,
   885 F.2d 300 (5th Cir. 1989) .................................................................................................2, 3

Del. Cnty. Emps. Ret. Sys. v. Cabot Oil & Gas Corp.,
   2023 WL 6300569 (S.D. Tex. Sept. 27, 2023),
   leave to appeal denied, 2023 WL 8794620 (5th Cir. Nov. 17, 2023) .......................................9

Dussouy v. Gulf Coast Inv. Corp.,
   660 F.2d 594 (5th Cir. 1981) .....................................................................................................5

DW Volbleu, LLC v. Honda Aircraft Co., LLC,
  2024 WL 169569 (E.D. Tex. Jan. 16, 2024) ..............................................................................7

Erica P. John Fund, Inc. v. Halliburton Co.,
   563 U.S. 804 (2011) ...................................................................................................................9

Fahim v. Marriot Hotel Servs., Inc.,
   551 F.3d 344 (5th Cir. 2008) .....................................................................................................7
                                                                  - ii -
4908-1930-3427.v1
        Case 1:21-cv-00751-DAE                        Document 275                Filed 12/04/24             Page 4 of 17




                                                                                                                                   Page


Goldman Sachs Grp., Inc. v. Ark. Tchr. Ret. Sys.,
   594 U.S. 113 (2021) ...................................................................................................................8

Hegwood v. Ross Stores, Inc.,
   2006 WL 8437334 (N.D. Tex. June 26, 2006) ..........................................................................6

In re Am. Int’l Refinery, Inc.,
    676 F.3d 455 (5th Cir. 2012) .....................................................................................................7

In re Apache Corp. Sec. Litig.,
    2024 WL 532315 (S.D. Tex. Feb. 9, 2024) ...............................................................................9

In re Dura Pharms., Inc. Sec. Litig.,
    452 F. Supp. 2d 1005 (S.D. Cal. 2006) ......................................................................................4

In re FirstEnergy Corp.,
    2022 WL 681320 (S.D. Ohio Mar. 7, 2022) ..........................................................................4, 5

King v. Life Sch.,
   2011 WL 5242464 (N.D. Tex. Nov. 3, 2011) ............................................................................7

Leykin v. AT&T Corp.,
   423 F. Supp. 2d 229 (S.D.N.Y. 2006)........................................................................................5

Lopez v. City of Dall., Tex.,
   2004 WL 2026804 (N.D. Tex. Sept. 9, 2004)............................................................................3

Lozano v. Ocwen Fed. Bank, FSB,
   489 F.3d 636 (5th Cir. 2007) .....................................................................................................6

Matter of Southmark Corp.,
   88 F.3d 311 (5th Cir. 1996) .......................................................................................................6

Mayeaux v. La. Health Serv. & Indem. Co.,
  376 F.3d 420 (5th Cir. 2004) .....................................................................................................7

Monroe Cnty. Emps.’ Ret. Sys. v. S. Co.,
  332 F.R.D. 370 (N.D. Ga. 2019) ............................................................................................8, 9

Navarro v. Microsoft Corp.,
   214 F.R.D. 422 (N.D. Tex. 2003) ..............................................................................................7

Neely v. Khurana,
   2009 WL 1605649 (N.D. Tex. June 5, 2009) ............................................................................7


                                                                 - iii -
4908-1930-3427.v1
         Case 1:21-cv-00751-DAE                          Document 275                  Filed 12/04/24                Page 5 of 17




                                                                                                                                            Page


Ramirez ex rel. Ramirez v. Bexar Cnty., Tex.,
   2011 WL 1627381 (W.D. Tex. Apr. 28, 2011)..........................................................................7

Rougier v. Applied Optoelectronics, Inc.,
   2019 WL 6111303 (S.D. Tex. Nov. 13, 2019)
   report & recommendation adopted,
   2019 WL 7020349 (S.D. Tex. Dec. 20, 2019) .........................................................................10

Saad Maura v. Scotiabank P.R.,
   328 F.R.D. 14 (D.P.R. 2018),
   aff’d, 2023 WL 9468285 (1st Cir. Mar. 13, 2023).....................................................................4

Smith v. EMC Corp.,
   393 F.3d 590 (5th Cir. 2004) .....................................................................................................6

Snellink v. Gulf Res., Inc.,
   870 F. Supp. 2d 930 (C.D. Cal. 2012) .......................................................................................4

Strong v. Green Tree Servicing, L.L.C.,
    716 F. App’x 259 (5th Cir. 2017) ..............................................................................................7

Tan v. Quick Box, LLC,
   2022 WL 17184568 (S.D. Cal. Nov. 23, 2022) .........................................................................4

U.S. v. Russell,
   241 F.2d 879 (1st Cir. 1957) ..................................................................................................2, 3

SECONDARY AUTHORITIES

6 C. Wright & A. Miller,
Federal Practice & Procedure (1971)
   §1504...........................................................................................................................................2




                                                                      - iv -
4908-1930-3427.v1
       Case 1:21-cv-00751-DAE           Document 275         Filed 12/04/24       Page 6 of 17




I.       INTRODUCTION

         Defendants’ opposition (ECF 269) (the “Opp.” or “Opposition”) is based on the false premise

that “the Second Supplemented Complaint’s allegations would require extending the class period”

because “disclosures after the class period ‘cannot be a corrective disclosure sufficient to establish

loss causation.’” Id. at 1.1 But no case holds that. To the contrary, courts have squarely rejected the

proposition. Defendants, in fact, have no answer to Plaintiffs’ on-point authority and do not even

attempt to distinguish it. In contrast, courts have found Defendants’ cited cases inapplicable in

situations such as this involving continuing disclosures. Defendants’ contention is therefore

meritless.

         Defendants’ fallback argument that “the newly alleged disclosures fundamentally alter class

certification regardless of whether the class period is extended” (Opp. at 1) fares no better.

Defendants now claim for the first time that the new disclosures must be analyzed to determine:

(i) whether the alleged misstatements had a “price impact”; and (ii) whether Plaintiffs have presented

a methodology for calculating damages that is consistent with their theory of liability. See id. at 1-2.

But the parties already addressed both of these questions in their class certification briefing.

Magistrate Judge Hightower, indeed, rejected both of Defendants’ arguments, finding that

Defendants conceded that the alleged misstatements had a price impact and that Plaintiffs’ proposed

out-of-pocket damages methodology – the standard methodology used in securities litigation –

presents a class-wide damages model consistent with Plaintiffs’ theory of liability. The new

corrective disclosures therefore do not require additional class certification briefing on either issue.

         At bottom, Defendants’ Opposition is an attempt to unnecessarily reopen class certification

briefing in order to cause further delay. Class certification, however, was fully briefed months ago,


1
    Unless otherwise noted, defined terms are the same as used in Plaintiffs’ motion for leave to file
the proposed second supplemented Complaint. ECF 252 (the “Motion” or “Mot.”).

                                                 -1-
4908-1930-3427.v1
        Case 1:21-cv-00751-DAE          Document 275         Filed 12/04/24       Page 7 of 17




and now Magistrate Judge Hightower has recommended the Class be certified. Plaintiffs timely

moved to supplement their complaint in accordance with the guidance provided by the Court.

Defendants, meanwhile, do not argue the supplement is futile. Nor do they identify any undue

prejudice caused by the proposed supplement or dispute that the additional corrective disclosures

revealed new information brought to light in the various government investigations that directly

relates to Defendants’ alleged fraud.

         Accordingly, the Court should grant Plaintiffs leave to file their proposed second

supplemented complaint and deny Defendants’ request to re-open class certification briefing.

II.      THE SUPPLEMENTAL ALLEGATIONS DO NOT MOOT PLAINTIFFS’
         CLASS CERTIFICATION MOTION

         A.         The Supplement Does Not Supersede the Operative Complaint

         Defendants claim that “courts regularly deny motions for class certification as moot when a

plaintiff seeks to amend or supplement their complaint while the motion is pending” because “[a]n

amended or supplemented complaint ‘supersedes a motion for class certification that is keyed to a

prior version of the complaint.’” Opp. at 5. Not so. Defendants’ “argument misconstrues the basic

difference between amended and supplemental claims.” See Dean v. Ford Motor Credit Co., 885

F.2d 300, 302 (5th Cir. 1989). “‘[A]mended and supplemental pleadings differ in two respects. The

former relate to matters that occurred prior to the filing of the original pleading and entirely replace

the earlier pleading; the latter deal with events subsequent to the pleading to be altered and merely

represent additions to or continuations of the earlier pleading.’” Id. (quoting 6 C. Wright & A.

Miller, Federal Practice & Procedure, §1504 at 540 (1971)).2

         In other words, a supplemental pleading, like the one at issue here, does not supersede or

replace the original. See Ford, 885 F.2d at 302; U.S. v. Russell, 241 F.2d 879, 882 (1st Cir. 1957)


2
      Emphasis is added and citations are omitted throughout unless otherwise indicated.

                                                 -2-
4908-1930-3427.v1
       Case 1:21-cv-00751-DAE           Document 275         Filed 12/04/24      Page 8 of 17




(supplemental pleading “stands with the original pleading and is a mere addition to, or continuation

of, the original complaint or answer”); see also Bush v. Pioneer Mining Co., 179 F. 78, 80 (9th Cir.

1910) (“the supplemental complaint differs from an amended complaint in that it does not take the

place of the original pleading, but stands with it and adds to it some fact which has occurred since

the beginning of the action”); id. (“‘A supplemental complaint is not, like an amended complaint, a

substitute for the original complaint, by which the former complaint is superseded; but it is a further

complaint, and assumes that the original complaint is to stand.’”). There is therefore no basis to

deny Plaintiffs’ motion for class certification as moot.

         Defendants, in fact, do not cite a single case where a motion for class certification was

denied because supplemental allegations were filed. Rather, Defendants’ cases concern, unlike here,

amended complaints that sought to replace the operative pleading.3 Here the supplemental

allegations add to, but do not replace, the existing allegations. See Ford, 885 F.2d at 302; Russell,

241 F.2d at 882; Pioneer Mining, 179 F. at 80; see also Collier, 2024 WL 1220170, at *1 (“An

amended complaint supersedes the original complaint unless it specifically refers to and adopts or

incorporates it by reference.”). Plaintiffs’ existing allegations, and the class certification motion

based on those allegations, thus continue to stand, especially given that the supplemental allegations

do not modify the proposed Class in any way. See Mot. at 3, 15.

         Nor is there any basis to “order further class certification briefing to address new

allegations.” Opp. at 6. Defendants’ cited cases concern instances where a plaintiff sought to




3
    See, e.g., Crowley v. Collier, 2024 WL 1220170, at *1 (S.D. Tex. Feb. 16, 2024), report and
recommendation adopted by, 2024 WL 1221578 (S.D. Tex. Mar. 21, 2024) (pro se plaintiff’s motion
for class certification mooted when amended complaint did not make class action allegations);
Burchfield v. Corel Corp., 2013 WL 12120088, at *1 (N.D. Cal. Sept. 12, 2013) (plaintiff filed a
superseding amended complaint); Lopez v. City of Dall., Tex., 2004 WL 2026804, at *11 (N.D. Tex.
Sept. 9, 2004) (plaintiff sought to file an amended complaint, not supplemental allegations).

                                                 -3-
4908-1930-3427.v1
       Case 1:21-cv-00751-DAE           Document 275         Filed 12/04/24       Page 9 of 17




modify the proposed class definition or add new representative parties.4 Here, by contrast, the

proposed supplemental complaint does not modify the Class definition in any way or seek to add

class representatives. See Mot. at 3, 15. Thus, there is no reason to re-open class certification

briefing.

         B.         There Is No Requirement that the Class Period Be Extended

         Defendants claim that because “the new disclosures occurred months after the class period,”

the supplemental allegations “require extending the class period” because “disclosures after the class

period ‘cannot be a corrective disclosure sufficient to establish loss causation.’” Opp. at 1, 6, 8. But

Defendants’ “suggestion that Plaintiffs cannot suffer any loss as a result of fraud that was not

disclosed until after the close of the class period is incorrect.” Snellink v. Gulf Res., Inc., 870 F.

Supp. 2d 930, 942 (C.D. Cal. 2012). See Mot. at 15-16.

         No case Defendants cite holds that corrective disclosures cannot continue to occur after the

end of the class period. Rather, Defendants’ “cited authorities find loss causation lacking where

plaintiffs’ first concrete knowledge of the scheme or misstatement postdates the class period.” In re

FirstEnergy Corp., 2022 WL 681320, at *29 (S.D. Ohio Mar. 7, 2022). But “[w]here, as here,

details of wrongdoing emerge in the Class Period and a series of disclosures continues beyond it, no

rule prohibits loss causation as to the later events.” Id. “[T]he Supreme Court could have held that

as a matter of law Plaintiffs cannot establish loss causation because the corrective disclosures . . .

were made several months after the Class Period,” but it “did not so hold.” In re Dura Pharms., Inc.


4
     See Ap-Fonden v. Goldman Sachs Grp., Inc., 2023 WL 4865617, at *3 (S.D.N.Y. July 31, 2023)
(amendment sought to “modify the class period”); Tan v. Quick Box, LLC, 2022 WL 17184568, at
*2 (S.D. Cal. Nov. 23, 2022) (“adding four additional parties”); Air Force Officer v. Austin, 2022
WL 1240856, at *3 (M.D. Ga. Apr. 27, 2022) (adding three new plaintiffs as putative class
representatives); Saad Maura v. Scotiabank P.R., 328 F.R.D. 14, 23 (D.P.R. 2018), aff’d, 2023 WL
9468285 (1st Cir. Mar. 13, 2023) (“The Court, however, cannot certify a class when Plaintiffs are
still figuring the class membership itself as shown by filing additional amended complaints with the
sole purpose of adding Plaintiffs.”).

                                                 -4-
4908-1930-3427.v1
       Case 1:21-cv-00751-DAE          Document 275         Filed 12/04/24      Page 10 of 17




Sec. Litig., 452 F. Supp. 2d 1005, 1023 (S.D. Cal. 2006). Defendants do not – and cannot –

distinguish this authority.5 Accordingly, Defendants’ argument that the class period must be

extended is unsupported and contrary to established precedent.6

III.     LEAVE TO SUPPLEMENT THE COMPLAINT SHOULD BE GRANTED

         Defendants do not dispute that the supplement “set[s] forth” significant fraud-related events

“‘which have happened since the date of the pleading sought to be supplemented.’” ECF 175 at 3.

See Mot. at 3, 13-14. Nor do Defendants claim that the proposed supplement is futile. As for the

challenges they do raise regarding the timing of the supplement and its purported effect on class

certification, Defendants misstate both the law and the facts. Defendants’ arguments should

therefore be rejected.

         A.         Plaintiffs Did Not Unduly Delay In Supplementing the Complaint

         A court cannot deny leave to amend on grounds of delay based on the “mere passage of

time.” Dussouy v. Gulf Coast Inv. Corp., 660 F.2d 594, 598 (5th Cir. 1981). Rather, “it is only

undue delay that forecloses amendment.” Id. See Mot. at 19. Here there was no undue delay

because “‘the facts underlying the [supplemented] complaint’” did not begin to occur until June 28,

2024, and continued through September 26, 2024 – months after Plaintiffs moved for leave to file

5
    In fact, the court in FirstEnergy distinguished Defendants’ cases on this basis. See In re
FirstEnergy, 2022 WL 681320, at *29, n.39 (noting that in Lighthouse Fin. Grp. v. Royal Bank of
Scotland Grp., PLC, 2013 WL 4405538, at *10 (S.D.N.Y. Aug. 5, 2013), “‘Plaintiffs only allege that
the truth about [defendant’s] exposure to subprime securities came out in [defendant’s] 2008 annual
report,’ released ‘more than a month after the close of the proposed class period,’ and ‘do not allege
that the market became aware [of the scheme] at any previous point’ (emphasis removed).”); id.
(noting that in Leykin v. AT&T Corp., 423 F. Supp. 2d 229, 243 (S.D.N.Y. 2006), the “complaint
‘does not allege facts showing that, during the class period, the market became aware’ of the
scheme; ‘[o]n the contrary, plaintiffs acknowledge that [defendants’ wrongdoing] did not become
public knowledge during the class period’”).
6
    Defendants’ remaining case, Bd. of Trs. of City of Ft. Lauderdale Gen. Ems. Ret. Sys. v. Mechel
OAO, 811 F. Supp. 2d 853, 858 (S.D.N.Y. 2011), concerned a scriveners’ error where the date of the
corrective disclosure was misstated. It does not hold that corrective disclosures cannot also continue
to occur after the end of a class period.

                                                 -5-
4908-1930-3427.v1
       Case 1:21-cv-00751-DAE           Document 275        Filed 12/04/24      Page 11 of 17




their first supplemented Complaint. See id. (quoting Hegwood v. Ross Stores, Inc., 2006 WL

8437334, at *2 (N.D. Tex. June 26, 2006)).

         Defendants’ contention that Plaintiffs improperly stalled filing the proposed supplement until

after class certification briefing is therefore belied by the record. Plaintiffs filed their motion for

class certification on March 13, 2024 (ECF 148), over three months before the new corrective

disclosures in Plaintiffs’ second supplement began to come to light on June 28, 2024, the date

Dr. Wang’s indictment was disclosed. See Mot. at 7-8. The other additional corrective disclosures

then continued through September 26, 2024, the date of the SEC Charges, over a month after

Plaintiffs filed their August 23, 2024 class certification reply (“Reply”). See ECF 210. Plaintiffs

therefore could not have filed the proposed supplement prior to moving for class certification.

         Defendants, moreover, ignore that they delayed taking a position on whether they would

oppose the proposed supplement until July 31, 2024, the day before the August 1, 2024 hearing. See

Mot. at 7-8. At that hearing, Defendants indicated that the recent events underlying the proposed

supplement were “‘very active and in development,’” and the Court, in response, requested that

Plaintiffs hold off on further supplementation until after the September 30, 2024 status conference

with Magistrate Judge Bemporad, i.e., after class certification briefing was set to be completed. See

id. The Court’s directive proved prescient, as the September 26, 2024 SEC Charges required

Plaintiffs to further update their supplemental allegations. See id. Plaintiffs followed the Court’s

guidance, and Defendants’ accusations of “dilatory tactics” (Opp. at 6) are therefore meritless.7




7
    Unlike here, Defendants’ cases, Lozano v. Ocwen Fed. Bank, FSB, 489 F.3d 636, 644 (5th Cir.
2007); Smith v. EMC Corp., 393 F.3d 590, 596 (5th Cir. 2004); and Matter of Southmark Corp., 88
F.3d 311, 316 (5th Cir. 1996), concern amendments to add claims based on information that was
already known at the time of the original complaint or should have been explored in discovery.

                                                 -6-
4908-1930-3427.v1
       Case 1:21-cv-00751-DAE           Document 275         Filed 12/04/24       Page 12 of 17




         B.         Defendants Fail to Demonstrate Undue Prejudice

         Defendants do not contend that the supplement “‘would “delay trial, restart a case at an

earlier stage, or otherwise unfairly limit a party’s ability to present its case at trial,”’” BMSH I Katy

TX, LLC v. Smith Seckman Reid, Inc., 2024 WL 4229312, at *4 (S.D. Tex. Sept. 18, 2024) (cleaned

up). Nor could they. See Mot. at 14. There is no trial date, granting the supplement would not limit

any trial defense, and no part of the case would need to be restarted. Even assuming arguendo that

the class period needed to be extended – it does not – some additional class certification briefing

would not constitute undue prejudice. See Ap-Fonden, 2023 WL 4865617, at *5 (“[M]ere

allegations that an amendment ‘will require the expenditure of additional time, effort, or money do

not themselves constitute undue prejudice.’”). Thus, because “the supplement does not change or

add legal theories,” there “is no undue prejudice.” ECF 175 at 4. See Mot. at 20.8



8
    Defendants’ cases are thus inapposite as they concern, unlike here, a plaintiff belatedly amending
to add new claims and/or parties, which, in many instances, would have dramatically altered those
cases. See Strong v. Green Tree Servicing, L.L.C., 716 F. App’x 259, 264 (5th Cir. 2017)
(amendment asserted “a dozen new claims based on the same events as the original complaint,
including four new causes of action”); In re Am. Int’l Refinery, Inc., 676 F.3d 455, 467 (5th Cir.
2012) (amendment was not based on new information, but rather information that had been available
for a year or longer and the “newly added fraud claims would have dramatically altered the subject
matter of the suit at a late juncture”); Mayeaux v. La. Health Serv. & Indem. Co., 376 F.3d 420, 426,
427 (5th Cir. 2004) (proposed amendment “essentially pleaded a fundamentally different case with
new causes of action and different parties” and “‘should have been brought far earlier’”); Fahim v.
Marriot Hotel Servs., Inc., 551 F.3d 344, 347-49 (5th Cir. 2008) (proposed amendment added an
“entirely new claim” based on existing facts after amendment deadline without explanation); DW
Volbleu, LLC v. Honda Aircraft Co., LLC, 2024 WL 169569, at *2-*6 (E.D. Tex. Jan. 16, 2024)
(proposed amendment added new claims in bad faith “that could have easily been asserted at the
beginning of the case”); Ramirez ex rel. Ramirez v. Bexar Cnty., Tex., 2011 WL 1627381, at *2
(W.D. Tex. Apr. 28, 2011) (proposed amendment added three new lawsuits from three new
plaintiffs); King v. Life Sch., 2011 WL 5242464, at *2 (N.D. Tex. Nov. 3, 2011) (proposed
amendment added multiple new claims after amendment deadline had passed which “would require
essentially restarting the lawsuit”); Neely v. Khurana, 2009 WL 1605649, at *6 (N.D. Tex. June 5,
2009) (concerned a motion to reopen discovery just months before trial, not leave to supplement a
complaint); Navarro v. Microsoft Corp., 214 F.R.D. 422, 424 (N.D. Tex. 2003) (proposed
amendment belatedly added a new claim despite that plaintiff “could have brought this claim at any
time since the filing of this lawsuit”).

                                                  -7-
4908-1930-3427.v1
       Case 1:21-cv-00751-DAE           Document 275         Filed 12/04/24      Page 13 of 17




         Further, as Defendants’ own case states, “[t]he prospect of additional liability is not a basis

for finding prejudice.” Ap-Fonden, 2023 WL 4865617, at *5. “Nor is a plaintiff’s attempt to

maximize damages for a class bad faith – rather, that is the lead plaintiff’s charge when appointed

lead plaintiff.” Id. That Plaintiffs seek to recover additional damages on the basis of recent

corrective disclosures is therefore appropriate and does not warrant the denial of Plaintiffs’ Motion.

                    1.   The New Corrective Disclosures Need Not Be Considered as
                         Part of Any Class Certification Price Impact Analysis

         Defendants incorrectly claim that the timing of Plaintiffs’ Motion “stripp[ed] Defendants of

any ability to address the new disclosures’ impact on class certification,” thereby causing them to be

prejudiced. Opp. at 6. First, Defendants state that, according to Goldman Sachs Grp., Inc. v. Ark.

Tchr. Ret. Sys., 594 U.S. 113 (2021) (“Goldman”), the new corrective disclosures “must be

considered in evaluating whether Defendants can demonstrate a lack of price impact.” Opp. at 9.

But Defendants cite no authority for this position, and Goldman concerns whether Defendants have

rebutted the “Basic presumption by showing that an alleged misrepresentation did not actually affect

the market price of the stock.” ECF 254 at 29. Here Defendants already had the opportunity to

make that showing and failed to meet their burden.

         As Magistrate Judge Hightower found in her Report & Recommendation, “Defendants admit

that there was a price impact on Cassava stock at least six times after disclosures.” Id. at 31.

“Defendants also do not dispute that Cassava’s stock price climbed in response to the alleged

misrepresentations made on September 14, 2020, February 2, 2021, and November 4, 2021.” Id.

“Defendants thus concede price impact” (id.), which “dooms [Defendants’] attempt to rebut the

presumption of reliance because the inquiry is whether Defendants have proven a complete lack of

price impact during the Class Period.” Monroe Cnty. Emps.’ Ret. Sys. v. S. Co., 332 F.R.D. 370, 395

(N.D. Ga. 2019). See Reply at 20-21 (citing cases). Thus, Defendants did not, and cannot,

demonstrate that the alleged misstatements “did not actually affect the market price of the stock”
                                             -8-
4908-1930-3427.v1
       Case 1:21-cv-00751-DAE          Document 275         Filed 12/04/24      Page 14 of 17




(ECF 254 at 29). “[B]ecause Defendants concede that a statistically significant price decline

following an alleged corrective disclosure means one cannot rule out price impact . . . Defendants

cannot prove an absence of price impact during the Class Period. S. Co., 332 F.R.D. at 393.

Therefore, the new corrective disclosures need not also be “considered” as part of any class

certification price impact analysis.

         Defendants also suggest that the Court must assess whether the corrective disclosures

“‘reveal[] new facts that, taken as true, render some aspect of the defendant’s prior statements false

or misleading.’” Opp. at 10 (citing In re Apache Corp. Sec. Litig., 2024 WL 532315, at *10 (S.D.

Tex. Feb. 9, 2024)). But In re Apache addresses the standard for proving loss causation, and

“Plaintiffs need not show loss causation at the class certification stage.” ECF 254 at 17, n.5 (citing

Erica P. John Fund, Inc. v. Halliburton Co., 563 U.S. 804, 813 (2011)). See ECF 214 at 24.

         And although Defendants could have argued that the Motion is futile because the new

allegations do not sufficiently allege corrective disclosures, they do not.9 Nor do Defendants dispute

that the alleged misstatements are “‘related’ or ‘relevant’” to their new corrective disclosures, which

is all that is required under Goldman. See Del. Cnty. Emps. Ret. Sys. v. Cabot Oil & Gas Corp.,

2023 WL 6300569, at *7 (S.D. Tex. Sept. 27, 2023), leave to appeal denied, 2023 WL 8794620 (5th

Cir. Nov. 17, 2023); ECF 214 at 25.

         Nor are Defendants deprived of any defense. Defendants will still have the opportunity at

summary judgment or trial to show these disclosures did not correct the alleged fraud. But that is a

loss causation issue for another day, not a question for resolution at class certification. See ECF 254

at 17, n.5, 31; Reply at 24. Therefore, there is no basis for the Court to re-open class certification

briefing based on the new corrective disclosures.


9
     Defendants previously (unsuccessfully) made such a futility argument in response to Plaintiffs’
first motion to supplement. See ECF 143 at 2.

                                                 -9-
4908-1930-3427.v1
       Case 1:21-cv-00751-DAE          Document 275         Filed 12/04/24      Page 15 of 17




                    2.   The New Corrective Disclosures Need Not Be Considered as
                         Part of Any Class Certification Comcast Analysis

         Defendants claim that, if the Court granted the Motion, Plaintiffs would somehow escape

scrutiny under Comcast Corp. v. Behrend, 569 U.S. 27, 34 (2013) (“Comcast”). See Opp. at 10-11.

That is, again, incorrect. According to Comcast, Plaintiffs need only “present a damages model

‘establishing that damages are capable of measurement on a classwide basis.’” ECF 254 at 32

(quoting Comcast, 569 U.S. at 34). And, here, that analysis has already been undertaken with

respect to Plaintiffs’ out-of-pocket damages model.

         As Magistrate Judge Hightower found, Plaintiffs “proffered a damages model consistent with

their theory of liability and capable of calculating damages on a classwide basis.” Id. at 34. See id.

at 33 (“Many courts recognize out-of-pocket damages models as an accepted way to calculate

damages on a classwide basis in securities fraud class actions.”); Rougier v. Applied Optoelectronics,

Inc., 2019 WL 6111303, at *15 (S.D. Tex. Nov. 13, 2019), report & recommendation adopted, 2019

WL 7020349 (S.D. Tex. Dec. 20, 2019) (Comcast only “requires that the method for calculating

class damages be consistent with the theory of liability asserted in the case”); ECF 214 at 27.

         Moreover, “Defendants do not dispute that Dr. Feinstein’s out-of-pocket methodology is

consistent with Plaintiffs’ theory of liability,” id. at 28, and the supplemental allegations do not

assert any new theory of liability or require the use of some other model for presenting damages.

Comcast has therefore already been satisfied and there is no reason for the Court to undertake that

analysis again in connection with the new alleged disclosures.

IV.      CONCLUSION

         For the reasons stated herein and in their Motion, Plaintiffs should be granted leave to file

their proposed second supplemented complaint, attached as Exhibit A to the Motion, and

Defendants’ request to unnecessarily re-open class certification briefing should be denied.


                                                - 10 -
4908-1930-3427.v1
       Case 1:21-cv-00751-DAE   Document 275     Filed 12/04/24     Page 16 of 17




DATED: December 4, 2024             Respectfully submitted,

                                    ROBBINS GELLER RUDMAN
                                          & DOWD LLP
                                    DANIEL S. DROSMAN (admitted pro hac vice)
                                    JESSICA T. SHINNEFIELD (admitted pro hac vice)
                                    KEVIN A. LAVELLE (admitted pro hac vice)
                                    MEGAN A. ROSSI (admitted pro hac vice)
                                    HEATHER GEIGER (admitted pro hac vice)
                                    JEREMY W. DANIELS (admitted pro hac vice)


                                                    /s/ Kevin A. Lavelle
                                                   KEVIN A. LAVELLE

                                    655 West Broadway, Suite 1900
                                    San Diego, CA 92101
                                    Telephone: 619/231-1058
                                    619/231-7423 (fax)
                                    dand@rgrdlaw.com
                                    jshinnefield@rgrdlaw.com
                                    klavelle@rgrdlaw.com
                                    mrossi@rgrdlaw.com
                                    hgeiger@rgrdlaw.com
                                    jdaniels@rgrdlaw.com

                                    Lead Counsel for Lead Plaintiff and Additional
                                    Plaintiff Ken Calderone

                                    KENDALL LAW GROUP, PLLC
                                    JOE KENDALL (Texas Bar No. 11260700)
                                    3811 Turtle Creek Blvd., Suite 825
                                    Dallas, TX 75219
                                    Telephone: 214/744-3000
                                    214/744-3015 (fax)
                                    jkendall@kendalllawgroup.com

                                    Local Counsel for Lead Plaintiff and Additional
                                    Plaintiff Ken Calderone




                                      - 11 -
4908-1930-3427.v1
       Case 1:21-cv-00751-DAE   Document 275     Filed 12/04/24    Page 17 of 17




                                    GLANCY PRONGAY & MURRAY LLP
                                    CHARLES H. LINEHAN (admitted pro hac vice)
                                    1925 Century Park East, Suite 2100
                                    Los Angeles, CA 90067
                                    Telephone: 310/201-9150
                                    310/201-9160 (fax)
                                    clinehan@glancylaw.com

                                    Counsel for Additional Plaintiff Manohar K. Rao




                                      - 12 -
4908-1930-3427.v1
